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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

******************** *
GARY ABDULLA,                       *
                                    *     No. 13-853V
                  Petitioner,       *     Special Master Christian J. Moran
                                    *
v.                                  *     Filed: February 26, 2014
                                    *
SECRETARY OF HEALTH                 *     Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,                 *     shoulder bursitis; rotator cuff tear.
                                    *
                  Respondent.       *
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Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for
petitioner;
Melonie J. McCall, United States Department of Justice, Washington, DC, for
respondent.

             UNPUBLISHED RULING FINDING ENTITLEMENT1

       On October 29, 2013, Gary Adbulla filed a petition under the National
Childhood Vaccine Injury Act, 42 U.S.C. §300a—10 et. seq., alleging that he
suffered bursitis in his left shoulder and a rotator cuff tear related to his receipt of
the influenza (“flu”) vaccine on October 12, 2011.
       In her Rule 4(c) report, respondent states that she “recommends that
compensation be awarded.” Resp’t’s Rep’t, filed Feb 21, 2014, at 1. Respondent
adds that the Division of Vaccine Injury Compensation, Department of Health and
Human Services, has reviewed the facts of this case and has concluded that the
alleged injury, lasting for more than six months, “is consistent with a shoulder
injury related to vaccine administration (‘SIRVA’),” and thus that “petitioner has
satisfied all legal prerequisites for compensation under the [Vaccine]Act.” Id. at 4.
       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       Special masters may determine whether a petitioner is entitled to
compensation based upon the record. A hearing is not required. 42 U.S.C. §
300aa-13; Vaccine Rule 8(d). Based upon a review of the record as a whole, the
undersigned finds that petitioner has established that he is entitled to compensation
for his injury.
      Accordingly, Mr. Abdulla is entitled to compensation. A status
conference is set, sua sponte, for Monday, March 24, 2014 at 2:00 P.M. Eastern
Time, to discuss the process for quantifying the amount of damages to which Mr.
Abdulla is entitled.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                                   s/Christian J. Moran
                                                   Christian J. Moran
                                                   Special Master




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            All preexisting deadlines are CANCELLED.

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